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                              UNITED STATES DISTRICT COURT
                               MIDDLE DISTRICT OF FLORIDA
                                   ORLANDO DIVISION

 NUVASIVE, INC.,

        Plaintiff,
                                                        CASE NO.: 6:27-CV-02206-CEM-GJK
 v.

 ABSOLUTE MEDICAL, LLC,
 GREG SOUFLERIS, DAVE HAWLEY,
 ABSOLUTE MEDICAL SYSTEMS, LLC,
 and RYAN MILLER,

       Defendants.
 _________________________________/

          MOTION TO STRIKE DECLARATION OF CLAYTON AT DOC. 365-3

        Defendants hereby move for an order striking the unauthorized Declaration of Hansel “Rip”

 C. Clayton, filed by Plaintiff at Doc. 365-3, and any associated argument concerning that testimony,

 because it was not authorized by the Court or agreed to by counsel or permitted by Local Rule 3.01

 (d) and (g). In support of this motion, Defendants state:

        1. Plaintiff NuVasive moved at Doc. 361 for leave to file a reply in support of its motion to

            vacate the arbitration award. NuVasive’s motion was not opposed by the undersigned

            counsel based upon meet and confer exchanges between counsel for the parties.

        2. In its motion at Doc. 361 and in the meet and confer that preceded it, however, NuVasive

            did not disclose that it would be submitting a declaration from a supposed expert witness

            who was not previously disclosed to be a testifying witness to the Defendants and who

            had not submitted any expert report in this case, Mr. Hansel “Rip” C. Clayton. It also

            warrants note that Mr. Clayton's declaration is based entirely on computer capabilities and

            speculation that such capabilities could have been utilized, having no apparent knowledge



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          of the Hawley computer or of the facts. Instead, NuVasive represented only that its reply

          brief would address various legal or factual issues, including those raised by Mr. Hawley’s

          “recently-submitted declaration.” Doc. 361, at 2. It also said the reply brief would not be

          greater than five pages.

       3. Defendants would have opposed the filing of a reply had they known that NuVasive would

          be submitting as part of the reply expert testimony from a non-testifying expert, including

          an opinion that raised entirely new matter purporting to rebut Mr. Hawley’s testimony

          without the reciprocal right to respond with a counter expert declaration.

       4. The Court’s order permitting the reply authorized Plaintiff only to file a reply of not

          greater than five pages. Doc. 363. This order represents an enlargement on the page limit

          permitted by Local Rule 3.01 (d), which ordinarily restricts replies to three pages

          “inclusive of all parts.” The “all parts” doubtless includes declarations incorporated into

          the reply.

       5. The rely brief asserts five pages of argument but it includes legal argument at footnote 4

          relying upon Mr. Clayton’s declaration, and in effect incorporating Clayton’s expert

          opinions as a rebuttal to the testimony of Mr. Hawley.

       6. The Clayton Declaration has one page of substantive content, which makes in substance

          an expert rebuttal of Mr. Hawley. In context, this is an extra page of reply (not counting

          the additional materials in the reply). Moreover, and of considerable import, that

          "additional page" introduced entirely new issues into the motion and entirely new expert

          testimony into the case. See, e.g., Modis, Inc. v. Beckwith, No. 3:07-cv-1125, 2008 U.S.

          Dist. LEXIS 142016 at * 4 (M.D. Fla. March 5, 2008) (supplemental affidavit rebutting a

          point is “appropriately viewed as a reply”). Accordingly, NuVasive's "reply" exceeded



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           the permitted five pages “inclusive of all parts” and went beyond replying to the issues

           raised in the Defendants' responsive papers. See Local Rule 3.01 (d).

        7. The Clayton Declaration was not mentioned in the meet and confer of counsel on the

           telephone or in email exchanges. (See Attachment 1, the emails of counsel on this

           request).

        8. The Clayton Declaration is in effect an unfair surprise attack on Defendants that

           Defendants cannot now rebut, and one made as a trial is about to commence. See Doc.

           367, denying leave to file a sur-reply with opposing expert testimony.

        9. Because the making of such a declaration was not the subject of the Local Rule 3.01

           meeting, was not mentioned in NuVasive’s motion for leave to submit a reply, and

           because it exceeds the permissible page limit of the reply permitted by the Court and Local

           Rule 3.01 (d), it is wholly unauthorized. Although this might seem to be a minor deviation

           from Local Rule 3.01 practice, it is in this case a substantive departure from Local Rule

           3.01 (d) and (g) because it represents an unfair surprise use of expert testimony to attack

           the credibility of a party and because it does so based upon the speculation that certain

           computer systems may have been used. This should not be permitted.

        Wherefore, Defendants move for an order striking the Clayton Declaration.

                              Local Rule 3.01(g) Certification

        The undersigned has conferred with opposing counsel about the subject matter of this

 motion but counsel were unable to reach an agreement that would preclude the filing of this

 motion.

                                              Respectfully Submitted,

                                              /s/ Bryan E. Busch
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                              CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that a true copy of the foregoing was furnished on this 29th day of

 December, 2021, to all parties receiving electronic notice via CM/ECF and via Email.

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